
Wright, J.,
delivered the opinion of the Court.
The Chancellor decreed against complainant, and in *402favor of David Snodgrass. Williams prosecutes a writ of error to this Court. The other parties do not complain. The Chancellor held, that Powers had a lien on the two wagons for $110.00, and that Snodgrass was entitled to the residue of the proceeds of the sale. This decree is manifestly correct. The complainant, Williams, is an attaching creditor of Whoples. But prior to the filing of his bill, Powers’ debt from Whoples had been secured by a deed of trust executed by him upon the wagons, and duly proved and registered, and Snodgrass had purchased of Whoples the wagons, subject to the trust, in favor of Powers, and Williams wras informed of these facts.
Whoples, therefore, had no interest in the wagons upon which Williams’ attachment could be fixed.
The proof as to the sale to Snodgrass, is abundant, ■and that Williams knew the fact when he filed his bill.
We affirm the decree.
